   - Case 3:14-cr-03661-BAS                    Document 117         Filed 04/28/16           PageID.364        Page 1 of 5
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AO 245B (CASDRev. 08/l3) Judgment in a Criminal Case
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                                         UNITED STATES DISTRICT COUR T'                                   CLERK US DISTRICT COURT
                                                                                                       SOUTHERN DISTRICT OF CALIFORNIA
                                            SOUTHERN DISTRICT OF CALIFORNIA                            BY                fA. k.. DEPUTY


              UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                    V.                              (For Offenses Committed On or After November 1, 1987)
                  RICARDO BOJORQUEZ (2)
                                                                       Case Number:         14CR3661-BAS

                                                                    SANDRA RESNICK
                                                                    Defendant's Attorney
REGlSTRAnON NO.                     42862298
o -
IZJ    pleaded guilty to count(s)         ONE (1) OF THE INDICTMENT

 o was found gUilty on count(s)
    after a olea of not guilty.
Accordingly, the defendant is ad,judged guilty of such count(s), which involve the following offense(s):
                                                                                                                           Count
Title & Section                      Nature of Offense                                                                    Numberls)
18 USC 1594(c)                       CONSPIRACY TO COMMIT SEX TRAFFICKING OF                                                 I
                                     CHILDREN




     The defendant is sentenced as provided in pages 2 through                 5           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not gUilty on count(s)
 IZJ   Count(s)    REMAINING                                  are         dismissed on the motion of the United States.

 IZJ   Assessment: $100.00



 IZJ No fine                    0 Forfeiture pursuant to order filed                                           , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




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       Case 3:14-cr-03661-BAS             Document 117        Filed 04/28/16       PageID.365        Page 2 of 5

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                 RICARDO BOJORQUEZ (2)                                                   Judgment - Page 2 of 5
CASE NUMBER:               14CR366 I-BAS


                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 SEVENTY EIGHT (78) MONTHS.




 o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ~      The court makes the following recommendations to the Bureau of Prisons:
        THE COURT RECOMMENDS THE DEFENDANT BE PLACED IN THE BOP RESIDENTIAL DRUG
        AND ALCOHOL PROGRAM (RDAP).
        THE COURT RECOMMENDS THE DEFENDANT BE DESIGNATED TO A FACILITY IN THE
        WESTERN REGION FOR FAMIL Y VISITS.

 o      The defendant is remanded to the custody of the United States MarshaL

 o      The defendant shall surrender to the United States Marshal for this district:
        o     at
                   ---------------- A.M.                      on
                                                                   -----------------------------------
        o     as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
        Prisons:
        o     on or before
        o     as notified by the United States Marshal.
        o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

        Defendant delivered on   _________________________ to _____________________________

 at
      ----------------------- , with a certified copy of this judgment.

                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL


                                                                                                       14CR3661-BAS
             Case 3:14-cr-03661-BAS                  Document 117               Filed 04/28/16            PageID.366            Page 3 of 5

    AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

    DEFENDANT:                   RICARDO BOJORQUEZ (2)                                                                        Judgment - Page 3 of 5
    CASE NUMBER:                 14CR366 I-BAS

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TEN (10) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

           If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
      Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the pennission ofthe court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa felony,
         unless granted pennission to do so by the probation officer;
     10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall penn it confiscation of any contraband
         observed in plain view of the probation officer;
     II) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of
         the court; and
     13) as directed by the probation officer. the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
         with such notification requirement.



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      Case 3:14-cr-03661-BAS         Document 117        Filed 04/28/16      PageID.367      Page 4 of 5

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:            RlCARDO BOJORQUEZ (2)                                                 Judgment - Page 4 of 5
CASE NUMBER:          14CR3661-BAS

                              SPECIAL CONDITIONS OF SUPERVISION


   1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
      and counseling, as directed by the probation officer. Allow for reciprocal release of information between
      the probation officer and the treatment provider. May be required to contribute to the costs of services
      rendered in an amount to be determined by the probation officer, based on ability to pay.

   2. Participate in a program of mental health treatment as directed by the probation officer, take all
      medications as prescribed by a psychiatrist/physician, and not discontinue any medication without
      permission. The court authorizes the release of the presentence report and available psychological
      evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
      release of information between the probation officer and the treatment provider. May be required to
      contribute to the costs of services rendered in an amount to be determined by the probation officer,
      based on ability to pay.

   3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

   4. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications
      or data storage devices or media, and effects to search at any time, with or without a warrant, by any law
      enforcement or probation officer with reasonable suspicion concerning a violation of a condition of
      probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
      duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3).

   5. Not use or possess devices which can communicate data via modem or dedicated connection and may
      not have access to the Internet without prior approval from the court or the probation officer. The
      offender shall consent to the installation of systems that will enable the probation officer to monitor
      computer use on any computer owned or controlled by the offender. The offender shall pay for the cost
      of installation of the computer software.

   6. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written
      material, or through any third-party communication, with the victim or victim's family, without prior
      approval of the probation officer.

   7. The defendant shall participate in a cognitive behavioral treatment program as directed by the probation
      officer, and if deemed necessary by the probation officer. Such program may include group sessions led
      by a counselor, or participation in a program administered by the probation office. The defendant may
      be required to contribute to the cost of the services rendered (copayment) in the amount to be
      determined by the probation officer, based on the defendant's ability to pay.



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       Case 3:14-cr-03661-BAS          Document 117        Filed 04/28/16     PageID.368       Page 5 of 5

AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:              RICARDO BOJORQUEZ (2)                                                Judgment - Page 5 of5
CASE NUMBER:            14CR3661-BAS

     8. Not possess any materials such as videos, magazines, photographs, computer images or other matter that
        depicts "sexually explicit conduct" involving children as defined by 18 U .S.C. § 2256(2) "actual
        sexually explicit conduct" involving adults as defined by 18 U.S.C. § 2257(h)(l), and not patronize any
        place where such materials or entertainment are the primary material or entertainment available.

     9. Shall not knowingly associate with any member, prospect, or associate of the Bloods street gang, or any
        other gang, or club with a history of criminal activity, unless given permission by the probation officer.

     10. Shall not knowingly loiter, or be present in locations known to be areas where gang members congregate,
         unless given permission by the probation officer.

     11. Shall not knowingly wear or possess any paraphernalia, insignia, clothing, photographs, or any other
         materials associated with a gang, unless given permission by the probation officer.

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